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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


THE STATE OF GEORGIA,
                                                        CIVIL ACTION FILE
v.
                                                       No. 1:23-CV-03721-SCJ
JEFFREY BOSSERT CLARK,
                                                  RE: NOTICE OF REMOVAL OF
                                                  FULTON COUNTY SUPERIOR
     Defendant.                                       COURT INDICTMENT
                                                        NO. 23SC188947


                                           ORDER

        This matter appears before the Court following Defendant Jeffery Bossert

Clark’s filing of a Notice of Removal. 1 Doc. No. [1]. This Order addresses the

limited question of whether Clark has carried his burden to demonstrate the

removal of the State of Georgia’s criminal prosecution against him is proper

under the federal officer removal statute, 28 U.S.C. § 1442(a). After considering

the arguments made and evidence submitted, the Court determines that Clark

has not met his burden. Accordingly, the Court DECLINES to assume




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
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jurisdiction over the State’s criminal prosecution of Clark under 28 U.S.C. § 1455,

DENIES Clark’s Notice of Removal of the Special Grand Jury Proceedings under

28 U.S.C. § 1446, and REMANDS the case to Fulton County Superior Court. 2

I.      BACKGROUND

        At the times relevant to this matter, Clark undisputedly served as an

Assistant Attorney General (AAG) for the United States Department of Justice

(DOJ). Doc. No. [48], 24; Hearing Tr. 3 60:21–61:3. Following presidential

nomination and Senate confirmation, on November 1, 2018, Clark was sworn into

office and assigned to be the AAG for the Environmental and Natural Resources




2 As the Court has previously indicated, despite using the term “remand” the Court has

not actually assumed jurisdiction over this case under Section 1455, and the State
proceedings are ongoing. See Georgia v. Meadows, --- F.Supp.3d ---,
No. 1:23-CV-03621-SCJ, 2023 WL 5829131, at *1 n.2 (N.D. Ga. Sept. 8, 2023). Nevertheless,
Section 1455 itself conceives of some form of remand, 28 U.S.C. § 1455(b)(4), and other
federal courts who have failed to find that federal jurisdiction exists over a criminal
prosecution have “remanded” the prosecution to the state court. See, e.g., New York
v. Trump, ---F. Supp. 3d----, No. 23 CIV. 3773 (AKH), 2023 WL 4614689, at *1 (S.D.N.Y.
July 19, 2023).
3 The Court cites to the Official Certified Hearing Transcript for the September 18, 2023
evidentiary hearing provided by the court reporter. This transcript has not yet been filed
on the docket.
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Division. Doc. No. [48], 4. 4 In September 2020, he also began to simultaneously

serve as the AAG for the Civil Division. Id.

       On August 14, 2023, a grand jury indicted Clark along with

18 co-Defendants for conduct relating to the 2020 presidential election. Doc.

No. [1-1]. The Indictment charged Clark specifically with violating Georgia’s

Racketeer     Influenced     and     Corrupt      Organizations      (“RICO”)      Act,

O.C.G.A. § 16-14-4(c), and with Criminal Attempt to Commit False Statements

and Writings, O.C.G.A. §§ 16-4-1, 16-10-20. Id. at 14, 84. The Indictment’s charges

primarily relate to a letter Clark drafted and submitted to his superiors, Acting

Attorney General Jeffrey A. Rosen and Acting Deputy Attorney General Richard

Donoghue. Doc. No. [28-1]. The draft letter was addressed, but never sent, to

Georgia state officials—specifically the Governor, the Georgia Speaker of the



4   At the evidentiary hearing, the Court admitted, over the State’s objection, a
declaration submitted by Clark from former United States Attorney General, Edwin
Meese, III. Doc. No. [48]. The Court indicated that it would properly weigh Meese’s
declaration evidence following the State’s objections that some of Meese’s opinions
constitute improper expert or legal opinions, and that his testimony about his personal
experience as Attorney General is irrelevant to Clerk’s case. To be sure, the Court does
not consider any testimony rendered by Meese that would require expert designation.
Moreover, to the extent that the Court considers Meese’s declaration’s assertions about
his own personal experience at DOJ, the Court finds that this experience has limited
relevance given that Clark’s tenure as AAG occurred decades after Meese had left the
DOJ.
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House, and the President Pro Tempore of the Georgia Senate—encouraging

Georgia to take actions with regard to its Certified Electors because of DOJ

investigations into the 2020 election that showed purported irregularities. Doc.

Nos. [28-1]; [1-1], 46–47 (charging that Clark “knowingly and willfully ma[de] a

false writing and document . . . that the United States Department of Justice had

‘identified significant concerns that may have impacted the outcome of the

election in multiple States, including the State of Georgia[ ]’” and “solicited

Acting United States Attorney General Jeffrey Rosen and Acting United States

Deputy Attorney General Richard Donoghue to sign and send a document that

falsely stated” that DOJ had these concerns).

       Clark filed a Notice of Removal of the Criminal Prosecution on August 21,

2023. 5 Doc. No. [1]. He asserts that removal of this proceeding is procedurally

proper under 28 U.S.C. § 1455 (for removal of criminal prosecutions) and

substantively permitted under 28 U.S.C. § 1442(a) (for federal officer jurisdiction).

He argues that he was acting as a federal officer at the time that the



5  Clark secondarily attempts to remove the Special Grand Jury Proceedings, which
preceded the Indictment, as a civil matter under Sections 1441, 1442, and 1446. Doc.
No. [1], 28–30. The State rejects Clark’s characterization of the Special Grand Jury
Proceedings as a civil matter. Doc. No. [28], 21–23. The Court resolves this particular
issue infra Section (III)(B).
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above-referenced letter was drafted and submitted to his DOJ superiors and that

he has a colorable federal defense for the charges against him. On August 24,

2023, the Court declined to summarily remand his case, ordered the State to

respond to Clark’s attempted removal, and scheduled an evidentiary hearing to

be held on September 18, 2023. 6 Doc. No. [15]. The State responded in opposition

to Clark’s removal (Doc. No. [28]) and Clark replied (Doc. No. [41]). The Court

held the evidentiary hearing on September 18, 2023. Doc. No. [50]. Clark waived

his right to appear at the hearing (Doc. No. [49]), and one State witness, Joseph

(Jody) Hunt, testified (Hearing Tr. 56:23–84:21). As will be discussed in greater

detail infra, only the State admitted exhibits at this hearing. Doc. No. [51].

       At the conclusion of the hearing, the Court took the matter under

advisement. Having considered the arguments put forth by the Parties and the

evidence submitted, the Court now enters this Order, which concludes that there

is no federal jurisdiction over Clark’s criminal prosecution.




6 Before the hearing, the Court granted leave for an Amici Curiae to file a brief in
support of remand. Doc. Nos. [46]; [47].
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II.      LEGAL STANDARD

         “[A] federal district court should be slow to act ‘where its powers are

invoked to interfere by injunction with threatened criminal prosecutions in a

state court.’” Cameron v. Johnson, 390 U.S. 611, 618 (1968) (quoting Douglas

v. City of Jeannette, 319 U.S. 157, 162 (1943)). An exception to these general

concepts of federalism is the federal officer removal statute, 28 U.S.C. § 1442(a)(1).

This      statute   allows    for    federal    jurisdiction    over     “a    criminal

prosecution . . . against . . . any officer (or any person acting under that officer) of

the United States . . . for or relating to any act under color of such office.” 28 U.S.C.

§ 1442(a)(1).

         Federal officer removal “is an incident of federal supremacy and is

designed to provide federal officials with a federal forum in which to raise

defenses arising from their official duties.” Florida v. Cohen, 887 F.2d 1451, 1453

(11th Cir. 1989) (citing Willingham v. Morgan, 395 U.S. 402, 405 (1969)). Given a

preference for state courts conducting their state prosecutions, it has been

suggested that a “more detailed showing” of the relation between the acts

charged and the federal role at issue is required. Willingham, 395 U.S. at 409 n.4.

Furthermore, federal courts must maintain a balance between what Section 1442


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allows and respect for a State’s right to deal with matters properly within its

domain.

      Clark removed this criminal prosecution procedurally under 28 U.S.C.

§ 1455, which specifies the requirements for removing a state criminal

prosecution to a federal district court. “28 U.S.C. § 1455 ‘merely provides

procedures that must be followed in order to remove a criminal case from state

court when a defendant has the right to do so under another provision.’” Maine

v. Counts, No. 22-1841, 2023 WL 3167442, at *1 (1st Cir. Feb. 16, 2023) (quoting

Kruebbe v. Beevers, 692 F. App’x 173, 176 (5th Cir. 2017)). Upon filing a notice of

removal, the Court must promptly determine whether the notice and its

attachments clearly fail to establish the Court’s subject matter jurisdiction, and if

they do, the case is summarily remanded to state court. 28 U.S.C. § 1455(b)(4). If

summary remand is not granted, then the district court must “promptly” hold an

evidentiary hearing to determine the “disposition of the prosecution as justice

shall require.” Id. § 1455(b)(5). Based on the facts adduced at the hearing and the

arguments put forth by the Parties, the Court must determine whether the

Defendant has met his burden in establishing that the Court has subject matter

jurisdiction over his criminal prosecution. Trump, 2023 WL 4614689, at * 5 (citing


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United Food & Comm. Workers Union v. CenterMark Props. Meriden Square,

Inc., 30 F.3d 298, 301 (2d Cir. 1994)).

       Under 28 U.S.C. § 1442, the question of the scope of a federal officer’s

authority contains issues of law and fact. See Nadler v. Mann, 951 F.2d 301, 305

(11th Cir. 1992) (“[D]etermination[s] of whether an employee’s actions are within

the scope of his employment involve[ ] a question of law as well as fact.”).

       Ultimately, for removal under Section 1455 to be proper, the removing

party must show that there is a basis for the federal court to exercise jurisdiction

over the criminal prosecution. See Leonard v. Enter. Rent a Car, 279 F.3d 967, 972

(11th Cir. 2002) (“A removing defendant bears the burden of proving proper

federal jurisdiction.”). If the Court lacks federal jurisdiction, then the case cannot

proceed in this forum.

       The Supreme Court has cautioned that “an airtight case on the merits in

order to show the required causal connection” is not required and that courts are

to “credit” the movant’s “theory of the case” for the elements of the jurisdictional

inquiry. 7 Jefferson Cnty. v. Acker, 527 U.S. 423, 432 (1999).



7 Acker’s “theory of the case” language refers to the colorable defense prong of the
analysis. 527 U.S. at 432. Nevertheless, the Court will evaluate the theory of the case as

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III.   ANALYSIS

       With the foregoing standards in mind, the Court turns to its determination

of whether Clark has carried his burden to show that removal is permitted under

28 U.S.C. § 1442. Clark has raised two different proceedings for the Court to

consider in its removal analysis: (A) the Indictment and its criminal prosecution

against him (procedurally under 28 U.S.C. § 1455), and (B) the Special Grand Jury

Proceedings (SGJP) prior to the issuance of the Indictment (procedurally under

28 U.S.C. § 1446). Clark has not shown a basis for the removal of either.

       A.     The Indictment and Criminal Prosecution

       The Court first addresses Clark’s removal of his criminal prosecution. For

the Court to determine the jurisdictional question presented, it must address the

familiar three-part test for federal officer removal: (1) that Clark was a federal

officer, (2) that his actions alleged were taken under the color of his federal office,

and (3) that he has a colorable federal defense. Caver v. Cent. Ala. Elec. Coop.,

845 F.3d 1135, 1142 (11th Cir. 2017). The Court considers each of these

requirements in turn and ultimately concludes that Clark has failed to meet his




it relates to the color of office because at least one district court recently has applied it
in this manner. See Georgia v. Heinze, 637 F. Supp. 3d 1316, 1322 (N.D. Ga. 2022).
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burden on the second requirement that his actions occurred under the color of

his federal office.

              1.      Federal Officer

       Clark was a federal officer at the time of the acts alleged. There is not any

real contention in this case that Clark was not a federal officer when he served as

AAG over two DOJ divisions. 8

              2.      Causal Connection Between Federal Office and Acts Alleged

       The Court now turns to the question of whether Clark was acting in the

scope of his federal office at the time of the acts alleged. The Court concludes that

Clark has not submitted evidence to meet his burden to show that his actions




8  Clark’s co-Defendant, Mark Meadows, appealed this Court’s remand order to the
Eleventh Circuit and moved for a stay of the remand order. See Georgia v. Meadows,
No. 23-12958 (11th Cir. Sept. 8, 2023); id. at ECF No. 4. The Eleventh Circuit panel that
was reviewing the motion to stay requested supplemental briefing on whether Section
1442(a)(1)’s jurisdiction covered former, as well as current, federal officers (Id. at ECF
No. 7). The State’s supplemental briefing argued that Section 1442(a)(1)’s text did not
cover former federal officers. Id. at ECF No. 11. Following the briefing but before a
hearing could be held, Meadows withdrew his motion to stay. Id. at ECF Nos. 28, 29.
Meadows’s appeal otherwise remains pending, but it is unknown whether the
Eleventh Circuit panel hearing the merits of his appeal will address the question raised
by the panel reviewing his motion to stay. Ultimately, the Court need not consider this
issue further because Clark did not meet his burden in establishing that he was acting
under the color of a federal office and the case must be remanded.
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were causally related to his federal office. To reach this conclusion, the Court

must first address what evidence it will consider.

                    a)     Evidence to be considered

      The first issue the Court must address is the evidence that is to be

considered on behalf of Clark’s removal petition. As indicated, Clark did not

submit any witness testimony, and only referred to two declarations that were

filed on the docket (via CM/ECF) prior to the evidentiary hearing. See generally

Hearing Tr. In fact, Clark’s presentation to the Court wholly consisted of

counsel’s argument and factual representations in the light of the evidence filed

on the docket and in response to the briefing submitted. The State, for its part,

tendered two exhibits at the hearing and offered one witness’s testimony. The

State also relied on significant portions of the docket evidence in support of its

arguments for remand.

      The Court is not aware of any prior cases that discuss what evidence is to

be considered at the statutorily mandated evidentiary hearing under 28 U.S.C.

§ 1455(b)(5). To be sure, ordinarily—at least when showing jurisdictional facts for

the amount in controversy for diversity cases (28 U.S.C. § 1442) removed under

28 U.S.C. § 1446—“substantive jurisdictional requirements of removal do not


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limit the types of evidence that may be used to satisfy the preponderance of the

evidence standard.” Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 755 (11th Cir.

2010). That is, a defendant “may introduce [his] own affidavits, declarations, or

other documentation—provided of course that removal is procedurally proper.”

Id. There is some support for a similar proposition in the context of federal officer

removal. See De Busk v. Harvin, 212 F.2d 143, 146 (5th Cir. 1954) 9 (“The

uncontroverted affidavits of appellees, attached as exhibits to the amended petition

for removal, clearly reveal that appellant’s dismissal by appellees was an ‘act

under color of [ ] office’, within the meaning of the removal statute.” (emphasis

added)).

       An evidentiary hearing, however, is not required in a typical civil removal

action. Thus, the question of whether evidence submitted on the docket is

sufficient (or if it must be tendered at the hearing) has yet to be addressed, as far

as the Court is aware from its independent research. The Court determines that




9 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit
handed down prior to October 1, 1981.
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it will consider the evidence filed on the docket even if it was not tendered or

referenced at the evidentiary hearing, subject to one caveat as described below. 10

         The Court’s reasoning for considering this evidence rests on the

aforementioned removal cases, which often involve documentary evidence

submitted on the docket for the jurisdictional determination. The fact that the

removal of a criminal prosecution requires an evidentiary hearing to determine

if the case should remain in federal court should not, in and of itself, inhibit the

consideration of attachments and other evidence on the docket. Likewise, while

the Court may be cautioned to scrutinize the removal of criminal cases more

closely than civil cases (given heightened federalism concerns), it does not

necessarily mean that the Court should make the submission of evidence more

difficult than in a typical removal case. Willingham, 395 U.S. at 409 n.4; see also,

Pretka, 608 F.3d at 755. Indeed, to remove a case (even a criminal prosecution) to

federal court does not require “an airtight case on the merits,” and this certainly

should not be the case for assessing the jurisdictional evidence from the hearing

itself. Acker, 527 U.S. at 432.




10   The Court limits this ruling to the facts and circumstances of Clark’s case.
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        Moreover, as a matter of fact in this case, the Court notes that some, but

not all, of the docket evidence was objected to at the hearing. Specifically, the

State objected to the submission of a declaration and its attachments made by

Clark himself and the declaration by former Attorney General Meese. Hearing

Tr. 49:13–51:8. The Court excluded the Clark affidavit and its attachments, 11 but

allowed the Meese declaration subject to further weighing and consideration in

this Order. Id. 52:21–53:4; see also supra note 4. Because the State selectively

objected to some, but not all of the evidence filed on the docket, for purposes of

this Order’s jurisdictional inquiry, the Court deems that the State waived any

objections to evidence for which an objection was not specifically raised. Clark,

for his part, did not make any objection to the State’s evidence filed on the docket.

Rather, he referred to the Rosen and Donoghue transcripts and asked the Court




11 Unlike the declarations and affidavits submitted by third parties in this case, the
Court excluded Clark’s declaration. The Court finds that even if it were to consider this
declaration its weight would be slight given its clear self-interest and that it was not
subject to cross-examination. See Fed. R. Evid. 403; cf. also Fed. R. Civ. P. 43(c); Proe v.
Facts Servs., Inc., 491 F. App’x 135, 138 (11th Cir. 2012) (“A district court has ‘broad
discretion to admit evidence if it has any tendency to prove or disprove a fact in issue.’”
(quoting Fidelity Interior Constr., Inc. v. Se. Carpenters Reg’l Council of United Bro. of
Carpenters and Joiners of Am., 675 F.3d 1250, 1258–59 (11th Cir. 2012))).
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to consider the “totality” of the depositions filed. 12 Hearing Tr. 23:23–24.

Accordingly, because a number of filings have been made on the docket without

any objection—in written motion or orally at the evidentiary hearing—the Court

concludes that any objection not raised to its consideration of this evidence has

been waived.

        This conclusion is not to imply that the evidentiary hearing is without any

purpose. Section 1455 clearly contemplates an evidentiary hearing and the

evidence submitted at this hearing is assumedly for the purpose of assisting the

Court to more fully consider its jurisdiction over a matter. Indeed, the ability to

hear live testimony and for the Parties to submit further documentary evidence

is of enormous value and should not be tossed aside under the ease of docket

filings. To be sure, there is evidence in this case that was excluded or assigned

little weight because the witness was not available for cross-examination.

        Accordingly, the Court will generally consider the docket filings in this

case as part of its jurisdictional inquiry into whether Clark was operating as a




12 Clark’s use of and reliance on some of the State’s evidence as part of his presentation
at the hearing, as far as the Court is concerned, not only suggests an implicit waiver of
the objection, but in fact an affirmative waiver.
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federal officer. 13 See, e.g., Doc. Nos. [29-1]; [30-1]; [31-1]; [43]. The only filing that

will not be considered is Clark’s declaration and its attachments (i.e., Doc.

Nos. [42] & [42-1]–[42-9]). This filing, in its entirety, is excluded per the Court’s

oral ruling on the State’s objection at the hearing. Hearing Tr. 53:3–4, 54:2–25.

                      b)     Clark’s burden in the light of this evidence

        Having established what evidence is considered in issuing this ruling, the

Court now assesses whether Clark has met his burden to show a causal

connection between his federal office and the acts alleged in the criminal

prosecution. The Court concludes that he has not.

        The Court fully adopts its reasoning in Georgia v. Meadows relating to

what constitutes an act for purposes of the Georgia RICO statute. 14 Meadows,

2023 WL 5829131, at *4–8. While the Court necessarily engaged in a lengthy




13 The Court has reviewed the totality of the evidence in the Record. This does not mean

that all filed submissions are relevant to this Order, however, and if something from the
Record is omitted in this Order, the Court deems it irrelevant or to have limited value
to the jurisdictional question presented.
14 The Court does make clear that it relies on Baucom v. Martin, 677 F.2d 1346, 1347
(11th Cir. 1982) as persuasive authority. The Court found this case to be relevant given
that it involved an underlying RICO investigation. Id. (“The FBI, in cooperation with
Georgia law enforcement authorities, engaged in an investigation of possible
violations . . . the [federal] RICO statute.”). The Court acknowledges, however, that
Baucom was not a Georgia RICO case, and did not rely on it as such.
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discussion in the Meadows case about the role of the overt acts specified, the

Court need not do so here. The Indictment clearly specifies Clark’s alleged

associative acts, which also correspond to the additional substantive charge

against him for attempted false writings. 15 Doc. No. [1-1], 46–47, 51, 84. The State

charges that Clark engaged in criminal activity under Georgia law when he

drafted the December 28 letter and solicited Rosen’s and Donoghue’s signatures

to endorse and send the letter to Georgia officials for purposes of interfering with

the 2020 presidential election. Id. Hence the specific question for the Court to

decide is whether Clark has met his burden to show that his aforementioned

actions were causally connected to (i.e., under color of) his federal office.

        In December 2020, the time of the relevant actions for assessing federal

office removal, Clark was a federal officer as AAG for both the Environmental

and Natural Resources and the Civil Divisions of DOJ. See supra

Section (III)(A)(1). Clark does not contend that the December 28 letter had

anything to do with his AAG role with the Environmental and Natural Resources




15 One exception may be Overt Act 110, which alleges that Clark received a phone call
from a co-Defendant on January 2, 2021. Doc. No. [1-1], 51. There has been no evidence
or argument pertaining to this act relevant specifically to the questions addressed in this
Order for the removal proceedings and thus the Court will not linger further on it.
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Division. Instead, the Court construes Clark’s argument to be two-fold: (1) he first

argues that his role as AAG for the Civil Division permitted him to write this

letter within the scope of his office; and (2) alternatively, as AAG, he was not

limited to working under a particular DOJ division, and thus he could be

assigned or directed to do work for any of the DOJ subdivisions. See generally

Hearing Tr. The Court now considers, and ultimately rejects, both arguments.

                             (1)    The scope of Clark’s role in the Civil Division

      First, the Court concludes that Clark has submitted no evidence that the

December 28 letter was written within the scope of his role as AAG for the Civil

Division. To the contrary, the evidence before the Court indicates the opposite:

Clark’s role in the Civil Division did not include any role in the investigation or

oversight of State elections. The only witness subject to cross-examination at the

hearing, Jody Hunt—the former AAG of Civil Division from 2018 until 2020 and

whom Clark replaced (Hearing Tr. 60:4–8)—testified from his personal

experience that most of the Civil Division’s work was “defensive in nature” that

is “defending suits that are filed against the United States or officers of the

executive branch.” Id. at 61:19–20. The remaining work, “affirmative enforcement

matters” includes False Claims Act cases, enforcement actions in the Consumer


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Protection Branch, and some matters handled by the Federal Programs Branch.

Id. at 61:22–62:8. Hunt expressly disclaimed the Civil Division’s role in matters

relating to “election interference or allegations of voter fraud” and testified that

the only election matters handled by the Civil Division would be in a defensive

posture once a member of the executive branch had been named in a lawsuit. Id.

at 62:14–23. Indeed, “[a]nything with respect to election irregularities or voter

discrimination issues would either fall to the Civil Rights Division or to the

Criminal Division.” Id. at 63:1:–3. This delegation of responsibilities between the

Civil Division and the other DOJ Divisions assigned to enforcement actions

involving election laws and irregularities, has been, in Hunt’s experience,

“consistent over time” and was contained in the DOJ’s Justice Manual. Id.

at 65:17–25.

        And, in fact, the Justice Manual and relevant regulations for the DOJ’s Civil

Division reinforce Hunt’s testimony. The Justice Manual indicates the Civil

Division’s AAG has authority, as is most relevant for this case, 16 under 28 C.F.R.



16  While some of the regulations consider the Civil Division involvement with
international matters, see, e.g., 28 C.F.R. § 0.49, the Court does not find the evidence
submitted by Clark pertaining to foreign interference with the elections (or related
cybersecurity threats) to be relevant to the Court’s jurisdictional inquiry of whether he

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§ 0.45 and 28 C.F.R. § 0.46. Doc. No. [28-8], 4. The defensive work of the Civil

Division, on behalf of federal officials sued in their official capacity, is discussed

in 28 C.F.R. § 0.46, and does not cover the type of action contemplated in Clark’s

December 28 letter. The regulation does allow the Civil Division to affirmatively

bring cases of fraud, but for “civil claims arising from fraud on the Government”

such as cases under the False Claims Act, among others. 28 C.F.R. § 0.45(d). None

of the statutory provisions indicated, however, have to do with election fraud or

interference.

        Rosen’s and Donoghue’s deposition testimony submitted by the

State—and referenced extensively at the hearing by Clark 17—further supports

that the Civil Division did not have a role in bringing affirmative election-related

suits. Rosen testified that Clark’s letter was “strange” in part because Clark

“didn’t have responsibility for election issues.” Doc. No. [30-1] (Rosen Dep. Tr.)




was a federal officer acting within the scope of his office (see, e.g., Doc.
Nos. [43-4]–[43-12]). Neither have the Parties argued as much. Thus, while this evidence
may bear on the merits of the criminality or justification for Clark’s actions alleged in
the Indictment, it has no relevance to the jurisdictional questions to be answered by this
Court.
17Clark asked the Court to “consider the totality of [Rosen and Donoghue’s] testimony.”
Hearing Tr. 23:23–24. The Court has done so.
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Tr. 99:11, 17–19. Rosen also indicated that for the processes of “vetting voter fraud

and election-crime related allegations” the FBI and the Criminal Division would

provide the most insight. Id. at 125:23–126:4, 127:1–4. Donoghue testified that the

Civil Division was responsible for “a vast portfolio” but “[n]othing having to do

with elections . . . .” Doc. No. [29-1] (Donoghue Dep. Tr.) Tr. 97:6–11. Clark’s

assistant in drafting the letter, Kenneth Klukowski, reaffirmed that he was

“shocked” at the assignment because “election-related matters are not part of the

Civil [Division’s] portfolio.” Doc. No. [31-1] (Klukowski Dep. Tr.) Tr. 67:6–10; see

also id. at 77:18–21 (“[T]his is not part of the Civil Division. These investigations

must be someone else, because I have never heard anything about any of this.”).

      Clark’s only evidence in response is that he is named as counsel

representing former Vice President Mike Pence and other officials in a civil

lawsuits alleging voting irregularities around the same time as the December 28

letter (i.e., in matters related to the 2020 presidential election). Hearing Tr.

28:21–29:8, 35:20–36:4; see also Doc. No. [48], 45–135 (filings made in these

election cases). The State does not dispute that Clark was involved in these cases,

but rather that his involvement had nothing to do with the investigation or

prosecution of election fraud. Rather, Hunt testified that Clark was involved in


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these cases, not because of any election oversight responsibilities, but because

members of the executive branch had been sued in their official capacities, and

the Civil Division was tasked with defending them. Hearing Tr. 72:4–14. The

subject matter of the litigation did not matter, the cases “belong[ed] to the Civil

Division” by nature of their defensive posture “regardless of the subject matter

of the lawsuit.” Id. at 72:18–19. Hunt’s testimony on Clark’s involvement in these

cases is unrebutted and is internally consistent with his general description of the

Civil Division’s responsibilities, as well as the Justice Department’s Manual and

the relevant regulations. Accordingly, the Court does not find Clark’s evidence

of being named as DOJ counsel in these defensive cases involving election

matters to be evidence that he, as AAG of the Civil Division, had any authority

over election fraud and interference matters or that his involvement related to his

role as AAG of the Civil Division.

      Accordingly, the Court concludes that Clark has not met his burden to

show that he was acting within the scope of his federal office as AAG of the Civil

Division in drafting the December 28 letter. The letter pertained to election fraud

and election interference concerns that were outside the gamut of his federal




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office. Consequently, Clark has not shown the required nexus for federal officer

removal.

                            (2)   Reassignment or delegation of Clark’s duties

      Clark’s next argument that he was acting in the scope of his federal office

as AAG for purposes of federal officer removal is that his assignments as AAG

to the Environmental and Natural Resources Division and the Civil Division

were not strict parameters and that he could be reassigned to other DOJ Divisions

by the Attorney General or the President. In support, Clark submits the

declaration of Edwin Meese, which attaches a Memorandum Opinion from the

former Solicitor General and AAG Ted Olson. Doc. No. [48], 21–23. In this

Memorandum, Olson concluded that the AAGs can be assigned by the Attorney

General to “any duties he chooses . . . including the supervision of a division

other than that for which they were nominated and confirmed.” Id. at 23. Meese’s

declaration expounds that the President is an authority who can likewise reassign

or direct the actions of an AAG beyond the scope of the division the AAG was

tasked with in nomination and confirmation. Id. at 5–6. Clark contends that the

President could have delegated him (as AAG) the authority to write this




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December 28 letter and suggests that the President had been in contact with Clark

prior to his writing the letter. See, e.g., Hearing Tr. 24:21–27:16.

      Preliminarily, the Court finds that this argument most clearly aligns with

Clark’s asserted theory of the case that “it is simply impossible for [Clark] to have

done the things he is charged with doing except that he was acting under color

of law.” Id. at 19:3–6. Clark further argued that he wrote the letter while at his

DOJ office, using DOJ equipment and software, and sent it using his DOJ email.

Hearing Tr. 16:15–17:1. As required, the Court credits Clark’s theory of the case

(i.e., that he engaged in these activities while at the DOJ and the President could

have reassigned or delegated duties to Clark within the scope of DOJ’s broader

delegation). It is still Clark’s burden, however, to show that there is a

jurisdictional basis for his removal. See Leonard, 279 F.3d at 972 (“A removing

defendant bears the burden of proving proper federal jurisdiction.”); cf.

Maryland v. Soper, 270 U.S. 9, 34 (1926) (discussing a defendant’s testimonial

support of their notice of removal of a criminal indictment and collecting cases).

      Other than his counsel’s own vague and uncertain assertions (Hearing Tr.

25:17–27:20) the Court has no evidence that the President directed Clark to work

on election-related matters generally or to write the December 28 letter to the


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Georgia State Officials on their election procedures. 18 Rosen testified that he did

not know if the President had discussed the December 28 letter with Clark. 19

Rosen Dep. Tr. 105:6–9. Donoghue testified that he did not recall Clark indicating

that the President was aware of the letter. Donoghue Dep. Tr. 104:21–23.

Klukowski, who drafted the letter at Clark’s request, did not testify that the

President directed Clark to write the letter, but rather indicated that the letter was

for a meeting with Rosen and Donoghue. Klukowski Dep. Tr. 65:15–66:5, 73:4–15.

No evidence in the Record definitively shows that the President directed Clark

to write the letter. Instead, the evidence before this Court does not show the

President’s involvement in this letter specifically until the January 3 meeting

where the President decided not to send it to the Georgia officials. Rosen Dep. Tr.

111:22–25.




18 Donoghue also testified that he was unaware of anyone else in the Civil Division who

was working with Clark on the letter and that it was his impression that Clark “drafted
this letter himself.” Donoghue Dep. Tr. 101:8–14.
19 Because it is fatal to Clark’s argument that he submitted no evidence that the
President reassigned or delegated him the task of writing the letter, the Court need not
engage with the suggestion that Clark’s contacts with the President contravened DOJ
policy. See, e.g., Donoghue Dep. Tr. 104:3–7; Doc. No. [28-5] (Memorandum from
Former Attorney General Eric Holder regarding “Communications with the White
House and Congress”); see also id. at 3 (requiring initial communications be made
between the White House and the AG or Deputy AG).
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      Moreover, Rosen and Donoghue’s testimony makes clear that the specific

contents of the December 28 letter were not within the scope of the Department

of Justice’s authority more broadly. In fact, it was for this reason that Rosen and

Donoghue were unwilling to endorse and sign the letter. Rosen Dep. Tr.

154:23–155:1; Donoghue Dep. Tr. 103:22–23; Doc. No. [28-4], 2 (“[T]here is no

chance that I would sign this letter or anything remotely like this.”). Rosen

testified that “there were so many problems with [the letter]” including “it’s not

the Justice Department’s responsibility” to direct States on election procedures.

Rosen Dep. Tr. 102:17–22. Donoghue’s email response to the letter raises concerns

about DOJ’s role to make “recommendations to a State Legislature about how

they should meet their [c]onstitutional obligation to appoint Electors.” Doc.

No. [28-4], 2. He later reaffirmed that “it was not at all the Department [of

Justice’s] role to be dictating to states what they should or should not be doing

with regard to their presidential elections.” Donoghue Dep. Tr. 98:18–21.

Klukowsi also asserted that he was unaware of the DOJ ever having

recommended a State legislature call itself to session. Klukowski Dep. Tr. 82:7–9.

      Thus, the evidence submitted does not support Clark’s argument that he

was acting in the scope of his authority as AAG because the President had the


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ability to delegate him the task of writing the December 28 letter. Not only has

Clark failed to provide any (let alone sufficient) evidence that the President

delegated him this authority, 20 but the evidence shows that any such delegation

of the action alleged (i.e., the contents in the letter drafted) would have been

outside the scope of DOJ more broadly. The bar for federal officer removal is

indeed low, but the removing party still bears a burden to show a jurisdictional

basis for the removal. Clark has failed to offer sufficient evidence that the acts

alleged in the Indictment related to the color of his office. 21 Accordingly, Clark

has failed to carry the second element for proper removal under Section 1442.



20  In crediting Clark’s theory of the case, the Court has not questioned Clark’s
contention that the President himself has authority to reassign or delegate AAGs in the
Justice Department. While Meese’s declaration makes this assertion (Doc. No. [48], 6),
the Olson Memorandum does not reference the President at all (id. at 21–23). The Court
has no reason to doubt that the President has authority to reconfigure AAG’s duties, but
the evidence does not support that the President did reconfigure Clark’s duties to
include election investigation or oversight, or reassign Clark to the Civil Rights or
Criminal Divisions, which do interact with state elections (Hearing Tr. 63:1–3).
Counsel’s arguments that it was possible that these events occurred and citation to the
Meese declaration (which was not subject to cross examination) does not support the
broad conclusion that Clark in fact had this authority, or that this authority was related
to his color of office.
21 As an aside, in his argument at the evidentiary hearing, Clark conflated an official
acting under “color of law” (as is found in different statutory provisions, such as
Section 1983) with an official acting under “color of office.” See, e.g., Hearing Tr.
89:3–90:21. While there may be some overlap in the way these “colorable” requirements
manifest in cases, the inquiries involved are distinct. Acting under “color of office” for

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             3.     Colorable Federal Defense

      Finally, the third requirement for Section 1442 removal is the removing

defendant allege a colorable federal defense. Clark asserts numerous federal

defenses, including immunity under the Supremacy Clause. Doc. Nos. [1], 26;

[41], 9–13. Because Clark failed to carry his burden with respect to the second

requirement of Section 1442—that he was acting under the color of his office at

the time of the acts alleged—the Court declines to address Clark’s defenses.

      B.     Special Grand Jury Proceedings

      Clark also seeks to remove the SGJP against him, as a civil matter

procedurally under 28 U.S.C. § 1446(a), because he is a federal officer under

Section 1442 and there is a federal question under Section 1441. Clark relies on

Section 1442(d)(1), which defines an action to be removed to include “any

proceeding (whether or not ancillary to another proceeding) to the extent that in

such proceeding a judicial order . . . is sought or issued.” 28 U.S.C. § 1442(d)(1);



Section 1442 purposes requires “showing . . . a ‘causal connection’ between the charged
conduct and asserted official authority.” Willingham, 395 U.S. at 409 (quoting Soper,
270 U.S. at 33). Acting under “color of law” conversely involves “acting ‘under pretense
of law.’” Butler v. Sheriff of Palm Beach Cnty., 685 F.3d 1261, 1268 (11th Cir. 2012)
(quoting United States v. House, 684 F.3d 1173, 1200 (11th Cir. 2012)). Accordingly, the
Court has considered the cases cited by Clark involving questions of acting under “color
of law,” but affords them the mere persuasive weight they are due.
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Doc. No. [1], 22–24. Clark also asserts that removal would be proper under

Section 1441 (for federal question jurisdiction) because the SGJP constitutes a civil

proceeding that is completely preempted. Id. at 28–30. The State responds that

these SGJP are not removable as civil actions under Section 1441 or Section 1442

and that the SGJP have concluded and thereby are not within the bounds of

Section 1442’s proceedings to be removed. Doc. No. [28], 23.

      Even assuming that the complete SGJP could be removed as a civil or

criminal matter, Clark has not asserted any viable basis for the SGJP to be

removed. To the extent Clark seeks removal of the SGJP under Section 1442, the

acts involved in the SGJP are the same as those charged in the Indictment (Doc.

No. [32-1]) and the Court has already determined that Clark failed to carry his

burden to show federal officer removal was appropriate. See supra

Section (III)(A).

      As for Clark’s contention that this Court has jurisdiction under

Section 1441 based on complete preemption, the Court disagrees. “Complete

preemption is rare.” Dorsett v. Highlands Lake Ctr., LLC, 557 F. Supp. 3d 1218,

1225 (M.D. Fla. 2021). It requires either Congress to expressly preempt state law

or “wholly displace[ ] the state-law cause of action” through federal statute. Id.


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at 1226 (quoting Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 8 (2003)). Here,

Clark did not cite to any federal statute or congressional action that would

completely preempt the State’s SGJP. Clark’s arguments that being AAG

provides a stronger basis for finding complete preemption given that Congress

has not delegated investigating this federal office to the States (Doc. No. [1], 29),

is really an argument for defensive preemption, which is not a basis for removal.

Id. at 1225 (citing Caterpillar Inc. v. Williams, 482 U.S. 386, 393 (1987)).

      Furthermore, the SGJP have concluded and the findings have been

published. Doc. No. [32-1]. Clark has not provided any authority showing that a

concluded special purpose grand jury proceeding can be removed to the federal

court. In the absence of binding authority, the Court declines to remove the

completed SGJP.

IV.   CONCLUSION

      For the foregoing reasons, the Court DECLINES to assume jurisdiction

over the State’s criminal prosecution of Clark under Section 1455 and

REMANDS the case to Fulton County Superior Court. The Court moreover

DENIES Clark’s attempt to remove the SGJP under Section 1446.




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